           Case 4:20-cr-00142-SDJ-KPJ Document 48 Filed 07/22/20 Page 1 of 1 PageID #: 517
AO 187 (Rev. 7/87) Exhibit and Witness List


                                                             UNITED STATES DISTRICT COURT

                         Eastern                                                     DISTRICT OF               Texas

                                                                                                WITNESS LIST
USA v. DANIEL AUSTIN DUNN

                                                                           CASE NO.             4:20cr142
   PRESIDING JUDGE                                                  GOVERNMENT’S ATTORNEY                   DEFENDANT'S ATTORNEY

                 Sean D. Jordan                                             Christoper Eason,
                                                                    Tracey Batson                           Temani Adams

   Hearing date(s):                                                 COURT REPORTER                          COURTROOM DEPUTY
           7/22/2020                                                  Gayle Wear                              Bonnie Sanford


   GOVT               DEF.               DESCRIPTION OF WITNESSES
   NO.                NO.


   1                                    Jeff Cotner
                             1          Rick Dunn
                             2          Judy Dunn
   2                                    Christopher Jancosko
